   Case 12-15709-DHS            Doc 24    Filed 05/03/12 Entered 05/03/12 14:49:08     Desc Main
                                         Document      Page 1 of 2

                                                                                  05/03/2012

                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY




     In Re:
                                                           Case No.: 12-15709
              Nicholas Tarsia
                                                           Adv. No.:
                    Debtor.
                                                           Hearing Date: 5/2/12

                                                           Judge:        Donald H. Steckroth


                                     ORDER VACATING ORDER

          The relief set forth on the following page, numbered two (2), is hereby ORDERED.




DATED: 05/03/2012
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Page 2
Debtor:
Case No.:
Caption of Order:     Order Vacating Order




        Please be advised that the Order Granting Motion to Dismiss Case for Debtor entered on

May 2, 2012 is hereby vacated.

        The Court, on its own motion, finds that the Order Granting Motion to Dismiss Case for

Debtor entered in the above-captioned case was entered in error and must be vacated; and for good

cause shown, it is

        ORDERED that said Granting Motion to Dismiss Case for Debtor entered on May 2, 2012

be and the same is hereby vacated.




                                                         Approved by Judge Donald H. Steckroth May 03, 2012
